Case 1:19-cv-00169-SPB-RAL Document 76 Filed 07/20/22 Page 1 of 7
Case 1:19-cv-00169-SPB-RAL Document 76 Filed 07/20/22 Page 2 of 7
Case 1:19-cv-00169-SPB-RAL Document 76 Filed 07/20/22 Page 3 of 7
Case 1:19-cv-00169-SPB-RAL Document 76 Filed 07/20/22 Page 4 of 7
Case 1:19-cv-00169-SPB-RAL Document 76 Filed 07/20/22 Page 5 of 7
Case 1:19-cv-00169-SPB-RAL Document 76 Filed 07/20/22 Page 6 of 7
Case 1:19-cv-00169-SPB-RAL Document 76 Filed 07/20/22 Page 7 of 7
